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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                     LOUISVILLE DIVISION

   DARRYL STEWARD, JR.,                                  )
                                                         )
                Plaintiff,                               )         Civil Action No. 3:17-CV-426-CHB
                                                         )
   v.                                                    )
                                                         )       ORDER OF DISMISSAL OF
   EXPERIAN INFORMATION                                  )        DEFENDANTS EXPERIAN
   SOLUTIONS, INC., et al.,                              )    INFORMATION SOLUTIONS, INC.,
                                                         )     AND NAVIENT SOLUTIONS, LLC,
                Defendants.                              )           WITH PREJUDICE

                                             ***   ***       ***    ***
           This matter is before the Court on plaintiff’s Stipulation and Order for Dismissal of

 Defendants Experian Information Solutions, Inc. and Navient Solutions, LLC Only, with

 Prejudice [R. 49]. This stipulation purports to dismiss all the remaining defendants in this

 matter. Having reviewed the Stipulation, and the Court being otherwise sufficiently advised,

           IT IS HEREBY ORDERED as follows:

           1.        Plaintiff Darryl Steward, Jr.’s, claims against defendants Experian Information

 Solutions, Inc., and Navient Solutions, LLC, are DISMISSED WITH PREJUDICE and each

 party shall bear its own fees and costs.

           2.        All dates and deadlines are hereby VACATED, and this matter is STRICKEN

 from the Court’s active docket.


       November 16, 2018




 cc:       Counsel of Record

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